

Central Ins. Agency, Inc. v Estate of Marshal R. Korman (2025 NY Slip Op 02312)





Central Ins. Agency, Inc. v Estate of Marshal R. Korman


2025 NY Slip Op 02312


Decided on April 23, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 23, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ANGELA G. IANNACCI, J.P.
WILLIAM G. FORD
HELEN VOUTSINAS
JAMES P. MCCORMACK, JJ.


2021-06639
 (Index No. 612539/20)

[*1]Central Insurance Agency, Inc., et al., respondents,
vEstate of Marshal R. Korman, et al., appellants.


Grunwald &amp; Semen, P.C. (Rivkin Radler LLP, Uniondale, NY [Evan H. Krinick and Henry M. Mascia], of counsel), for appellants.
Diane C. Carroll, P.C., Melville, NY (Sophia Bristol of counsel), for respondents.



DECISION &amp; ORDER
In an action, inter alia, for rescission of an asset purchase agreement, the defendants appeal from an order of the Supreme Court, Suffolk County (James C. Hudson, J. ), dated August 30, 2021. The order, insofar as appealed from, upon reargument, adhered to a prior determination in an order of the same court dated June 1, 2021, granting that branch of the plaintiffs' motion which was for summary judgment rescinding the asset purchase agreement.
ORDERED that the appeal is dismissed, without costs or disbursements.
The appeal from the order dated August 30, 2021, must be dismissed because the right of direct appeal therefrom terminated with the entry of the judgment in the action (see Matter of Aho, 39 NY2d 241, 248). The issues raised on the appeal from the order are brought up for review and have been considered on the appeal from the judgment (see CPLR 5501[a][1]; see Central Insurance Agency, Inc. v Estate of Marshal R. Korman, _____ AD3d _____ [Appellate Division Docket No. 2023-01015; decided herewith]).
IANNACCI, J.P., FORD, VOUTSINAS and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








